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Melinda Michelle Douglas
                               UNITED STATES DISTRICT COURT

                        DISTRICT OF OREGON – PORTLAND DIVISION


                                                  CASE NO. 3:20-cv-00460-JR
Melinda Michelle Douglas,

                        Plaintiff,
                                                 VOLUNTARY STIPULATION OF DISMISSAL
                                                 WITH PREJUDICE OF DEFENDANT KOHL’S
        v.                                       INC. ONLY, PURSUANT TO FEDERAL RULE
                                                 OF CIVIL PROCEDURE 41
Capital One Bank (USA), National
Association; Kohl’s Inc.; and DOES 1
through 100 inclusive,

               Defendants.
TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

        PLEASE TAKE NOTICE THAT Plaintiff Melinda Michelle Douglas, pursuant to
Federal Rules of Civil Procedure, Rule 41(a)(1), hereby voluntary dismisses defendant Kohl’s
Inc. only, with prejudice, as to all claims in this action.
        Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
        41(a) Voluntary Dismissal
        (1)      By the Plaintiff
                 (A)    Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and
                        any applicable federal statute, the plaintiff may dismiss an action without a
                        court order by filing:
                        (ii)    a stipulation of dismissal signed by all parties who have appeared.



VOLUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT KOHL’S INC. PURSUANT TO
                          FEDERAL RULE OF CIVIL PROCEDURE 41

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       Defendant Kohl’s Inc. filed an answer to Plaintiff’s Complaint on September 8, 2020.
Accordingly, the parties have resolved their claims and Defendant Kohl’s Inc. may be dismissed
from the Complaint for all purposes and without an Order.


                                                    Respectfully submitted,



Dated: September 21, 2021                  By:      /s/ Kyle W. Schumacher____
                                                    Kyle W. Schumacher, OSB No. 121887
                                                    Schumacher Lane PLLC
                                                    PO Box 558
                                                    Spring Branch, TX. 78070
                                                    Attorney for Plaintiff



Dated: September 21, 2021                  By:      /s/ Jeffrey G. Bradford___
                                                    Jeffrey G. Bradford, OSB No. 133080
                                                    Tonkon Torp LLP
                                                    888 SW Fifth Ave., Ste. 1600
                                                    Portland, OR. 97204
                                                    Attorney for Defendant
                                                    Kohl’s Inc.




VOLUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT KOHL’S INC. PURSUANT TO
                          FEDERAL RULE OF CIVIL PROCEDURE 41

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